     Case 4:08-cr-00315-RSB-CLR Document 1165 Filed 06/16/10 Page 1 of 2




                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION
ANTHONY LEE BUTLER                 )
                                   )
      Movant,                      )
                                   )
                                   )     Case No. CV410-139
                                   )              CR408-3 15
UNITED STATES OF AMERICA,          )
                                   )
     Respondent.                   )


                REPORT AND RECOMMENDATION

     With his direct appeal from his guity-plea conviction for violating 21

U.S.C. § 843(b) still pending, doc. 1131, Anthony Lee Butler has moved this

Court for 28 U.S.C. § 2255 relief. Doe. 1132. That motion must be

dismissed as premature. Absent extraordinary circumstances, a defendant

may not seek collateral relief while his direct appeal is pending, as the

appeal may moot some or all of the motion. United States v. Khoury, 901

F.2d 948, 969 n. 20 (11th Cir. 1990) ( 2255 motion will not be

entertained during pendency of a direct appeal); Starr v. United States,

2009 WL 995563 at * 1 (S.D. Ga. Apr 13, 2009) ( 2255 motion dismissed

as premature due to pendency of direct appeal).
        Case 4:08-cr-00315-RSB-CLR Document 1165 Filed 06/16/10 Page 2 of 2




        Indeed, this Court is without jurisdiction to consider such claims.

United States v. Dunham, 240 F.3d 1328, 1329-1330 (11th Cir. 2001);

Nunn v. United States, 2010 WL 1038539 at * 1 (M.D. Ala. Feb. 19,

2010). Because Butler has not alleged any extraordinary circumstances

justifying immediate review of his § 2255 motion, it should be

DISMISSED WITHOUT PREJUDICE to his right to re-file it

post-appeal. Johnson v. United States, 2009 WL 1704332 at * 1 (S.D. Ga.

June 16, 2009).

        SO REPORTED and RECOMMENDED this                        day of June,

2010.

                                    1*'­UNITED)5TXTES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




                                       2
